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 DEFENDANT:         RYAN KAMADA

 AGE/YOB:           41 / 1978
 COMPLAINT          ______ Yes       __X_____ No
 FILED?
                    If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                    __ Yes    _X_ No
   If No, a new warrant is required

 OFFENSE(S):        18 U.S.C. § 1505 (Obstruction of Proceedings)
 LOCATION OF        Weld County, Colorado
 OFFENSE:

 PENALTY:           NMT 5 years’ imprisonment; a fine of $250,000 (or both a fine and
                    imprisonment); NMT 3 years’ supervised release; SA fee of $100

 AGENT:             Amy Howard
                    Special Agent, FBI

 AUTHORIZED         Bryan David Fields
 BY:                Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:

 X five days or less; ___ over five days

THE GOVERNMENT

   will seek detention in this case based on 18 U.S.C. § 3142(f)(2)

The statutory presumption of detention is not applicable to this defendant




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